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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


1:24-mj-07150-JCB

                                UNITED STATES OF AMERICA

                                                 v.

                            JASON HUNTER & WALTER NORTON

                            ORDER PURSUANT TO
           RULE 5 OF THE FEDERAL RULES OF CRIMINAL PROCEDURE


                                           April 4, 2024


Boal, U.S.M.J.

       Pursuant to the Due Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21,

2020) and Rule 5(f) of the Federal Rules of Criminal Procedure, the United States is reminded of

its obligation to disclose in a timely manner all exculpatory evidence to the defendants, that is,

all evidence that is favorable to the defendants or tends to cast doubt on the United States’ case,

as required by Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Failure to comply with

this order may result in consequences, including, but not limited to, the reversal of any

conviction, the exclusion of evidence, adverse jury instructions, dismissal of charges, contempt

proceedings, disciplinary action, and/or sanctions by the Court.



                                                / s / Jennifer C. Boal
                                              JENNIFER C. BOAL
                                              UNITED STATES MAGISTRATE JUDGE



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